                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


STEPHEN SAMPLES                             )
                                            )
v.                                          ) NO. 3-11-0384
                                            ) JUDGE CAMPBELL
ACCRETIVE HEALTH, INC., et al.              )



                                            ORDER


        Plaintiff has notified the Court that all claims in this matter have been resolved.

Accordingly, the parties shall submit to the Court, on or before August 30, 2011, an Agreed Order

of Dismissal.

        IT IS SO ORDERED.


                                                    ___________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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